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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 CHRISTOPHER E. DORWORTH,
        Plaintiff,
 v.                                            Case No.: 6:23-CV-00871
 JOEL MICAH GREENBERG, ANDREW
 W. GREENBERG, SUE GREENBERG,
 ABBY GREENBERG, AWG, INC.,
 GREENBERG DENTAL ASSOCIATES,
 LLC, GREENBERG DENTAL &
 ORTHODONTICS, P.A., GREENBERG
 DENTAL SPECIALTY GROUP, LLC,
 and A.B.,
        Defendants.


  PLAINTIFF’S RESPONSE IN OPPOSITION TO MOTION FOR LEAVE
                     TO REPLY [DOC 119]

       Plaintiff Christopher Dorworth opposes the Motion for Leave to Reply filed

 by Defendant A.B. (the “Moving Defendant”) because a reply would expand an

 already unfair disparity in the amount of briefing directed to the Amended Complaint

 and would grant the Moving Defendants an unnecessary “last word.” Further, A.B.’s

 additional arguments to dismiss the action lack merit.

       Motions for leave to file a reply are “disfavored” and thus “not typically

 granted.” Regions Bank v. Hyman, 09–cv–1841, 2013 WL 12166237 at *1 (M.D.

 Fla. August 26, 2013). The proposed reply would expand an already unfair

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 advantage the Moving Defendant enjoys with respect to briefing the legal issues.

 The Moving Defendant seeks to file a 7-page reply in addition to the 25 pages

 contained in her Motion to Dismiss. Collectively, all Defendants filed five motions

 directed to the Amended Complaint, for a total of 125 pages. Because Defendants

 filed five separate motions, Plaintiff sought to file an omnibus response. But to get

 consent to that request from even a single Defendant (Moving Defendant did not

 consent) 1 he had to bargain away 30 of the 100 pages he would have had if he

 responded to each motion individually. See Local Rule 3.01(a) and (b). The Court

 allowed Plaintiff to file a 70-page omnibus response, which effectively gave Plaintiff

 14 pages to respond to each motion.2 The Moving Defendants request an additional

 7 pages, which would place them at 32 pages to Plaintiff’s 14 pages. That disparity

 is not appropriate. For example, in Tardif v. People for Ethical Treatment of

 Animals, No. 2:09-CV-537-FTM-29, 2011 WL 2729145, at *2 (M.D. Fla. July 13,

 2011), the Court denied a reply because it would have resulted in a total of 39 pages




 1
   A.B. filed an erroneous 9-page “Notice of Nonconferral,” in response to Plaintiff’s Motion for
 Leave to File the Omnibus Brief. (Doc. 110) As to this instant Motion, A.B. conferred only by
 email, and after rescheduling and then cancelling a scheduled call, filed the Motion solely based
 upon emails. (Doc. 119, Page 6) (noting only email conferral). Undersigned counsel would
 normally not comment upon this aspect of the Motion if not for A.B.’s erroneous claim that the
 undersigned did not confer on a previous motion when he called and emailed over a period of a
 week. Doc. 111 (rebutting the Notice of Nonconferral). The Motion’s certificate did, however,
 note at the undersigned’s request, that he would be filing a written response.
 2
   Nor did Plaintiff benefit from any economy of scale as to A.B.’s Motion to Dismiss, due to the
 somewhat unique arguments made by A.B., including on defamation, and also on the declaratory
 judgment, which was not directed to or addressed by the other Defendants.
                                                2
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 of briefing, and the proposed filing did not “rise to the level required by the Local

 Rules to file a reply brief . . . .” Id. at *2. In re Fiddler’s Creek, LLC, No. 2:14-CV-

 379-FTM-29CM, 2015 WL 4470093, at *2 (M.D. Fla. July 21, 2015), allowed a

 reply, but only after allowing the Plaintiff an additional 11 pages in response to the

 Motion.

        The Moving Defendant improperly uses her motion to make their reply

 argument. As noted in Plaintiff’s Omnibus Response (Doc. 116), Plaintiff has not

 attempted to offer extraneous evidence in opposition to the motions to dismiss. Doc.

 116, Page 4, n.2. Nor is there any “new” issue as to Wagner v. Flanagan, 629 So.2d

 113, 114-15 (Fla. 1993). A.B. cited the authority and had ample opportunity to

 address other cases, especially the caselaw discussed by Dorworth, which cites

 Wagner, in her initial Motion. As A.B. correctly notes, “the statute of limitations on

 defamation actions runs two years after any associated publication.” Doc. 119, Page

 3 (citing A.B.’s initial Brief). The associated publication would include A.B.’s

 repeated statements to the authorities, leaks from the investigation, Dorworth’s

 compelled self-defamation, reports to the media, and news publications, among

 other things. Dorworth alleges associated publications within the limitations period,

 both by A.B. and by the news media and others, and thus his claim is timely. ⁋⁋ 349-

 381.




                                            3
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        Nor does Dorworth introduce “two new theories, never raised in either of his

 Complaints.” Doc. 119, Page 5. Instead, he responds to assertions raised by A.B.

 Contrary to A.B.’s assertions, Dorworth has been clear since the beginning that he

 claims damages from the loss of his job at Ballard Partners as a result of the

 impending New York Times story covering false allegations by Defendants. Doc.

 62 ⁋⁋ 359-364, Doc. 1-1 ⁋⁋ 485-490.3 A.B. erroneously challenged Dorworth’s claim

 because it was true that the false allegations against him were investigated. Dorworth

 responded by citing Jews for Jesus v. Rapp, 997 So.2d 1098, 1106 (Fla. 2008), cited

 by A.B. in her own Motion, Doc. 80, Page 3, for the proposition that “literally true

 statements can be defamatory where they create a false impression.” A.B. does not

 need a reply to discuss the impact of her own caselaw on an erroneous argument she

 raised in her moving papers.

        Likewise, Dorworth has always been clear that he was alleging, among other

 things, compelled self-defamation. ⁋ 359 (“When Dorworth informed his employer,

 Ballard Partners, that he had been falsely implicated in the investigation, he was

 nonetheless compelled to resign his $1 million per year role with Ballard.”) Further,

 A.B. devotes an entire section of her brief to the proposition that “Mr. Dorworth

 Caused His Own Damages, Not Defendants.” Doc. 80, Page 11. These are not new


 3
   Plaintiff does not attempt to “bolster” the VAC by minimizing the importance of an article cited
 therein only as an example. The cited passages contain other articles showing defamation against
 Dorworth by Defendants, and others are readily available.
                                                 4
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 arguments or facts, notwithstanding that A.B. raised the issue but failed to address

 any self-defamation caselaw. Nor is Dorworth’s claim foreclosed by Valencia v.

 Citibank, 728 So.2d 330, 330-31 (Fla. 3rd DCA 1999). In fact, as noted in the

 Omnibus, two Federal District Courts, including this one, have recognized the claim.

 See e.g., Brown v. Suncoast Beverage, 09-CV-498, 2010 WL 555675, at *2 (M.D.

 Fla. Feb. 10, 2010)(recognizing compelled self-defamation when coupled with third

 party publication by defendant); Sirpal v. UM, 684 F.Supp.2d 1349, 1361 (S.D. Fla.

 2010)(same, and noting that “each repetition of a defamatory statements is a

 publication”) as cited in Omnibus Page 62. In fact, as noted in the Omnibus, Brown

 distinguishes Valencia, because, as here, in Brown both the Plaintiff and the

 Defendant issued defamatory statements. Brown, id. at *2. Sirpal distinguished

 Valencia on the exact same basis. Sirpal, id. at 1361. A.B. does not need a reply to

 discuss distinguishable caselaw that is already addressed in the authorities cited by

 Dorworth.

       Dorworth’s claims are not “unidentified.” In fact, A.B. claims on the one hand

 that Dorworth’s introduces new claims and on the other than they “remain

 unidentified.” Both cannot be true. Nor does Dorworth identify particular predicate

 acts that A.B. committed for the “first time” in his Response. Instead, they are

 identified in the VAC. A.B. erroneously claimed in her Motion that Dorworth relied

 upon “defamation” as a RICO, predicate, which he plainly did not. The note that


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 A.B. cites merely lists the RICO predicates alleged – none are defamation. A.B.

 again makes inconsistent arguments, claiming both that Dorworth “for the first time”

 identifies the predicate acts that A.B. committed, but at the same time, that it is

 “impossible to determine which statutes” Plaintiff claims A.B. violated. These too,

 are contradictory statements. In any event, on the very next page, in the very next

 note from that cited by A.B., Dorworth identifies all A.B.’s misconduct and the

 specific predicate acts alleged. Doc. 116, Page 37, n. 37-38.

        In sum, the Moving Defendants’ proposed reply is an unnecessary attempt

 have the last word and should be denied. See Tardif, id. at *2, Hyman, id. at *1. If

 the Court allows additional briefing, however, Plaintiff requests that it allot at least

 a similar number of pages to Plaintiff in a sur-reply to avoid further increasing the

 disparity in the briefing directed to the Amended Complaint. 4


 4
         Plaintiff would also like the court to consider providing additional pages to Dorworth based
 upon the Reply that has been granted to Sue, Andrew, and AWG. Plaintiff should also be allowed
 to rebut their arguments:
          When placed in context, the language in Plaintiff’s opposition is in direct response to
 Defendants’ arguments that Plaintiff’s Amended Complaint is speculative or without basis. See
 e.g. Doc. 77, Page 3. Plaintiff is not asking the Court to consider extraneous evidence in evaluating
 whether the Amended Complaint states a claim. Plaintiff is merely showing a legitimate basis for
 his assertions, as confirmed in admissions from and documents produced by Defendants. This is
 the reason that Plaintiff made limited to reference to the fact that he has confirmed his allegations.
 This should not be a surprise to Defendants or require further briefing. In sum, Plaintiff is not
 asking the Court to consider extraneous evidence or convert the pleading to a motion for summary
 judgment. (In this respect, the parties agree.) He was simply responding to Defendants’ assertions
 that Plaintiff’s Amended Complaint was speculative. The Court need not consider matters outside
 the Complaint in ruling on the substance of that Motion to Dismiss.
         These Defendants will inject entirely new caselaw into the briefing – in a reply brief – on
 the issue of the Greenbergs provision of funds to aid the illegal acts alleged in the pleading. Not
 only are these cases not “new law” that would justify a reply, they are not even applicable. Baumer
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 Filed: October 26, 2023.                                 Respectfully Submitted,

                                                          /s/Michael Paul Beltran
                                                          Michael P Beltran
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                                                          Counsel for Plaintiff Dorworth

                                CERTIFICATE OF SERVICE

        I will file a copy of the foregoing on the Court’s electronic system, which
 will send a copy to all counsel of record.
                                                 /s/Michael Paul Beltran
                                                 Michael P Beltran




 v. Pachl, 8 F.3d 1341, 1345 (9th Cir. 1993), simply involved a single unadorned conclusory
 allegation where the plaintiff did not even attempt to allege that one of the defendants was part of
 the conspiracy. Id. (“If he is part of this conspiracy to do this, allegedly, say so.”) It did not involve
 any knowledge requirement that the Greenbergs attempt to invoke in their Motion. Again, the
 Greenbergs ignore the voluminous information showing that they would have knowledge of the
 illegal acts. ⁋⁋ 204-232 (detailing Joel’s widespread discussion of his scheme with anybody why
 would listen, including family), 325-327 (detailing Greenbergs’ monitoring of Joel’s case and
 investigation), 328-339 (detailing Andrew’s assistance with coverup), 386 (knowledge of Joel’s
 general propensity to commit crimes), 393-397 (Greenbergs obtaining release and acknowledging
 that the restitution issue “involved multiple parties”), and Doc. 116, Pages 15-17 (detailing the
 Greenbergs’ knowledge). The pleading is sufficient on this issue. See Doc. 116, Pages 34-35
 (setting forth RICO standard), 42-44 (discussing pleading standard), GEICO v. Wellmart, No. 19-
 CV-4414 (KAM), 2022 WL 17774929, at *7 (E.D.N.Y. June 24, 2022), is similarly unavailing.
 GEICO merely regurgitates Defendants’ “parallel” conduct argument, asserted repeatedly in the
 moving papers. Doc. 77, Pages 24-26, Doc. 79, Page 25, Doc. 81, Pages 13 and 24, Doc. 82, Page
 22. This proposition was properly rebutted in the Omnibus Response. Doc. 116, Pages 35 and 44-
 47. Andrew, Sue, and AWG similarly expand a lopsided briefing advantage. Tardif, id. at *2,
 Hyman, id. at *1.
                                                     7
